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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN THE MATTER OF THE SEARCH OF:

 BLACK APPLE IPHONE                                         Magistrate No. 22-83
 CURRENTLY IN THE CUSTODY OF THE
 ALLEGHENY COUNTY POLICE AS ITEM B
 UNDER PROPERTY CONTROL NUMBER 22-
 0049


                APPLICATION AND AFFIDAVIT FOR SEARCH WARRANT

        I, Joshua Stegena, being duly sworn, depose and state as follows:

        1.      On January 13, 2022, I executed an affidavit in support of a Criminal Complaint

charging Zai Quan Moquaez HENDERSON (“HENDERSON”) with being a Felon in Possession

of a Firearm in violation of 18 U.S.C. § 922(g)(1). That affidavit is filed at Magistrate No. 22-80

and it is incorporated by reference as if set forth here in full.

        2.      As reflected in that affidavit, a search of HENDERSON’s person revealed a black

Apple iPhone. That iPhone was entered into evidence as Item B under Property Control Number

22-0049 and it is currently stored at the Allegheny County Police Department.

        3.      This Affidavit is made in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for the issuance of a search warrant authorizing the search of the

iPhone and the extraction from that iPhone of the electronically stored information described in

Section II of Attachment A.

        4.      Investigators, including your Affiant, believe the records and other information

contained within the iPhone contain evidence of violations of Title 18, United States Code,

Sections 922(g)(1), which make it unlawful for felons to possess firearms.

        5.      The applied-for warrants would authorize the forensic search of the iPhone for the
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purpose of identifying electronically stored data particularly described in Section II of Attachment

A.

        6.      I have reviewed various videos posted on YouTube that depict HENDERSON in

possession of firearms, but those videos appear to have been posted several years ago. In a very

recent post to Instagram on HENDERSON’s Instagram account, however, HENDERSON is

observed in a video with various firearms and rapping about his involvement with drug trafficking

and firearms.

        7.      Your Affiant is also aware through both training as well as experience gained

through multiple investigations involving illegally possessed firearms, that evidence of their illegal

gun possession is often located on their cellular telephones, and that is particularly true when they

are involved in the rap industry. That evidence often includes picture and/or video of themselves

and communications with others related to firearms.

                   ELECTRONIC STORAGE AND FORENSIC ANALYSIS

        8.      As described above and in Attachment A, Section II, this Application seeks

permission to search the iPhone for records that might be found on the iPhone which will provide

evidence of violations of 18 U.S.C. § 922(g)(1).

        9.      Based on my knowledge, training, and experience, I know that files or remnants of

such files can be recovered months or even years after they have been downloaded onto a storage

medium, deleted, or viewed via the Internet. Electronic files downloaded to a storage medium can

be stored for years at little or no cost.

        10.     Even when files have been deleted, they can be recovered months or years later

using forensic tools. This is so because when a person “deletes” a file on an electronic device, the

data contained in the file does not actually disappear; rather, that data remains on the storage



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medium until it is overwritten by new data.

        11.     Therefore, deleted files, or remnants of deleted files, may reside in free space or

slack space—that is, in space on the storage medium that is not currently being used by an active

file—for long periods of time before they are overwritten. In addition, an electronic device’s

operating system may also keep a record of deleted data in a “swap” or “recovery” file.

        12.     Wholly apart from user-generated files, electronic device storage media—in

particular, electronic devices’ internal hard drives—contain electronic evidence of how an

electronic device has been used, what it has been used for, where it was located, and who has used

it. To give a few examples, this forensic evidence can take the form of operating system

configurations, artifacts from operating system or application operation, file system data

structures, and virtual memory “swap” or paging files. Electronic device users typically do not

erase or delete this evidence, because special software is typically required for that task. However,

it is technically possible to delete this information.

        13.     Similarly, files that have been viewed via the Internet are sometimes automatically

downloaded into a temporary Internet directory or “cache.”

        14.     Nature of examination.       Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the device consistent

with the warrant. The examination may require authorities to employ techniques, including but

not limited to computer-assisted scans of the entire medium, that might expose many parts of the

device to human inspection in order to determine whether it is evidence described by the warrant.

        15.     Manner of execution. Because this warrant seeks only permission to examine a

device already in law enforcement’s possession, the execution of this warrant does not involve the

physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the Court



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to authorize execution of the warrant at any time in the day or night.

                                         CONCLUSION

       16.     Based upon the foregoing, you Affiant submits that there is probable cause to

believe that the iPhone contains information related to violations of 18 U.S.C. § 922(g)(1), which

there is probable cause to believe have been violated by HENDERSON.



                                                             /s/ Joshua Stegena
                                                             JOSHUA STEGENA
                                                             Allegheny County Detective



Sworn and subscribed before me, by telephone
pursuant to Fed. R. Crim. P. 4.1(b)(2)(A),
this 13th day of January 2022.



HONORABLE MAUREEN P. KELLY
UNITED STATES MAGISTRATE JUDGE




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                                         ATTACHMENT A

I.      Devices to be Searched, which is currently in the custody of the Allegheny County
Police:

                     Black apple iPhone with black case and cracked screen stored at the
                     Allegheny County Police Department as Item B under property control
                     number 22-0049.

II.     Records and Other Information to Be Seized

        1.      All records, information, and items evidencing who used the device and/or when

and/or from where, as well as evidence of violations of 18 U.S.C. § 922(g)(1):

                a.      Any communications in text messages or in any other form related to
                        firearms,
                b.      photo and video galleries showing firearms, and
                c.      online searches and sites viewed via the internet related to firearms.

        3.      In searching the iPhone, investigating officers and agents may examine all of the

data contained in the iPhone to view its precise contents and determine whether the iPhone and/or

its data falls within the items to be seized as set forth above. In addition, they may search for and

attempt to recover “deleted,” “hidden” or encrypted data to determine whether the data falls within

the list of items to be seized as set forth above.




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